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                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
Broidy Capital Management LLC et                                            CASE NUMBER

                                                                                            2:18-mc-00095 ODW(PLAx)
                                                          PLAINTIFF(S)
                              v.
Joseph Allaham                                                                        ORDER RE TRANSFER PURSUANT
                                                                                        TO GENERAL ORDER 16-05
                                                                                            (RELATED CASES)
                                                        DEFENDANT(S).

                                                                  CONSENT

      I hereby consent to the transfer of the above-entitled case to my calendar, pursuantt to
                                                                                            to General Order 16-05.
                                                                                                             16-05.
                                                                                                             16

                 July 24, 2018                                              John F. Walter
                     Date                                                   United SStates
                                                                                     ttaattees District
                                                                                               Diissttrict Judge

                                                               DECLINATION
                                                                  LINATIO
                                                                        ON
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:




                      Date                                                  United States District Judge

                                 REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case       2:18-cv-02421 JFW(Ex)              and the present case:

 ✔    A.        Arise from the same or closely related transactions, happenings or events; or
 ✔    B.        Call for determination of the same or substantially related or similar questions of law and fact; or
 ✔    C.        For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.        Involve one or more defendants from the criminal case in common, and would entail substantial
                duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                              NOTICE TO COUNSEL FROM CLERK
           Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                     Abrams                      to Magistrate Judge               Eick                    .

           On all documents subsequently filed in this case, please substitute the initials               JFW(Ex)    after the case number
in place of the initials of the prior judge, so that the case number will read 2:18-mc-00095 JFW(Ex)                       . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge        Statistics Clerk
CV-34 (10/16)                    ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 16-05 (Related Cases)
